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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                     4:06CR3016
                                                )
               v.                               )
                                                )
ARMANDO GARCIA-DELACRUZ,                        )     ORDER ON MOTION FOR EXTENSION
                                                )                OF TIME
                       Defendants.              )
                                                )


       IT IS ORDERED that the Motion for Extension of Time, filing 230, is granted and the United
States of America shall have on or before April 21, 2011, to file and serve its reply.
       Dated April 13, 2011.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
